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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


FEDERAL DEPOSIT INSURANCE                     )       CASE NO. 1:12-CV-01946-JEB
CORPORATION, as RECEIVER FOR                  )
AMTRUST BANK,                                 )
                                              )
               Plaintiff,                     )       JUDGE: JAMES E. BOASBERG
                                              )
       vs.                                    )
                                              )       STIPULATION OF DISMISSAL
US TITLES, INC., et al.,                      )       WITH PREJUDICE
                                              )
               Defendants.                    )


       The parties hereby stipulate and agree, pursuant to Rule 41(a)(1)(A)(ii) of the Federal

Rules of Civil Procedure, to DISMISS WITH PREJUDICE this action in its entirety, with each

party to that bear their own attorneys’ fees, costs, and expenses.



                                                      Respectfully submitted,

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